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AO 245B (MIWD Rev. 12/16)- Judgment in a Criminal Case




                            UNITED STATES DISTRICT COURT
                                                Western District of Michigan
UNITED STATES OF AMERICA
                                                          JUDGMENT IN A CRIMINAL CASE
-vs-
                                                          Case Number: 1:19-CR-25-03
MOHAMUD ABDIKADIR MUSE
a/k/a ABU OSAMA ALMUHAJIR                                 USM Number: 22449-040

                                                          James K. Champion
                                                          Defendant’s Attorney



THE DEFENDANT:


 ☒     pleaded guilty to Count 1 of the Indictment.
 ☐     pleaded nolo contendere to Count(s) _______ , which was accepted by the court.
 ☐     was found guilty on Count(s) _______ after a plea of not guilty.


The defendant is adjudicated guilty of these offenses:
 Title & Section                                             Offense Ended                           Count

 18 U.S.C. § 2339B(a)(1)                                      January 21, 2019                           1
 Conspiracy to Provide Material Support to a
 Designated Foreign Terrorist Organization



The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.
 ☒ Count(s) 2 is dismissed on the motion of the United States.

IT IS ORDERED that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and the
United States attorney of material changes in economic circumstances.

                                                                     Date of Imposition of Sentence: August 12, 2021


 Dated: August 13, 2021                                              /s/ Robert J. Jonker
                                                                     ROBERT J. JONKER
                                                                     CHIEF UNITED STATES DISTRICT JUDGE
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                                                     IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of ninety-eight (98) months.

☒     The court makes the following recommendations to the Bureau of Prisons:
      That the defendant receive a substance abuse evaluation and given the opportunity to participate in substance
      abuse programming.
      That the defendant receive educational and vocational programming.
      That the defendant be placed in a correctional facility as close as possible to his family in or near the State of
      Michigan.


☒     The defendant is remanded to the custody of the United States Marshal.
☐     The defendant shall surrender to the United States Marshal for this district:
      ☐     at _______ on _______
      ☐     as notified by the United States Marshal.
☐     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      ☐     before 2:00 P.M. on _______
      ☐     as notified by the United States Marshal.
      ☐     as notified by the Probation or Pretrial Services Office.



                                                         RETURN

I have executed this judgment as follows:




Defendant delivered on                                                    to

at                                                , with a certified copy of this judgment.



                                                               United States Marshal

                                                               By:
                                                                     Deputy United States Marshal
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                                                SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of ten (10)
years.


                                             MANDATORY CONDITIONS

1. You must not commit another federal, state, or local crime.

2. You must not unlawfully possess a controlled substance.

3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within
   15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
   court.

      ☐ The above drug testing condition is suspended, based on the court’s determination that you pose
          a low risk of future substance abuse. (check if applicable)

4. ☒ You must cooperate in the collection of DNA as directed by the probation officer.

5. ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C.
   § 20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender
   registration agency in the location where you reside, work, are a student, or were convicted of a qualifying
   offense. (check if applicable)

6. ☐ You must participate in an approved program for domestic violence. (check if applicable)

7. ☐ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute
   authorizing a sentence of restitution. (check if applicable)You must comply with the standard conditions that have been
   adopted by this court as well as with any other conditions on the attached page.
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                                     STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
and condition.
1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
   of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
   within a different time frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
   how and when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
   permission from the Court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
   living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
   change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
   the probation officer within 72 hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
   probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses
   you from doing so. If you do not have full-time employment you must try to find full-time employment, unless the
   probation officer excuses you from doing so. If you plan to change where you work or anything about your work (such
   as your position or your job responsibilities), you must notify the probation officer at least 10 days before the change. If
   notifying the probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must
   notify the probation officer within 72 hours of becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
   has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
   the permission of the probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
    anything that was designed, or was modified for the specific purpose of causing bodily injury or death to another person
    such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation
    officer may require you to notify the person about the risk and you must comply with that instruction. The probation
    officer may contact the person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy
of this judgment containing these conditions. For further information regarding these conditions, see Overview of Probation
and Supervised Release Conditions, available at www.uscourts.gov.


Defendant’s Signature                                                                 Date
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                                     SPECIAL CONDITIONS OF SUPERVISION

    1. You must participate in a program of testing and treatment of substance abuse, as directed by the probation officer,
       and follow the rules and regulations of that program until such time as you are released from the program by the
       probation officer and must pay at least a portion of the cost according to your ability, as determined by the probation
       officer.
    2. You must provide the probation officer with access to any requested financial information and authorize the release
       of any financial information. The probation office will share financial information with the U.S. Attorney's Office.
    3. You must participate in the Computer/Internet Monitoring Program and must comply with the rules of the program
       as directed by the U.S. Probation Office. You must pay the cost of computer monitoring as directed by the probation
       officer, and advise anyone in your household that any computer(s) in the household may be subject to computer
       monitoring.
    4. You must provide all computer-related billing records, including but not limited to telephone, cell phone, cable and
       internet, as directed by the probation officer. Refusal to comply is a violation of conditions of your supervision. You
       will warn anyone whom you share residence the premises may be subject to searches pursuant to this condition.
    5. You must provide the probation officer with all usernames, email addresses, passwords, social media accounts,
       and any other forms of internet identification, and must not create additional accounts, unless approved in advance
       by the probation officer
    6. You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. §
       1030(e)(1)), other electronic communications or data storage devices or media, or office, to a search conducted by
       a United States probation officer. Failure to submit to a search may be grounds for revocation of release. You
       must warn any other occupants that the premises may be subject to searches pursuant to this condition.
        The probation officer may conduct a search under this condition only when a reasonable suspicion exists that you
        have violated a condition of supervision and that the areas to be searched contain evidence of this violation. Any
        search must be conducted at a reasonable time and in a reasonable manner.
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                                            CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the Schedule of Payments on the following
pages.
       Assessment                   Fine                  Restitution          AVAA Assessment*             JVTA Assessment**
          $100.00                $1,200.00                     -0-                        -0-                          -0-

     ☐ The determination of restitution is deferred until _______. An Amended Judgment in a Criminal Case (AO
         245C) will be entered after such a determination.
     ☐ The defendant must make restitution (including community restitution) to the following payees in the
         amount listed below.


If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment,
unless specified otherwise in the priority order or percentage payment column below. However, pursuant to 18
U.S.C. § 3664(I), all nonfederal victims must be paid before the United States is paid.

     Name of Payee                 Total Loss***                     Restitution Ordered              Priority or Percentage



     TOTALS                        $ 0.00                            $ 0.00

     ☐ Restitution amount ordered pursuant to plea agreement.
     ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or
         fine is paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f).
         All of the payment options on Sheet 6 may be subject to penalties for delinquency and default, pursuant
         to 18 U.S.C. § 3612(g).
     ☒ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          ☒ the interest requirement is waived for the fine.
          ☐ the interest requirement is waived for the restitution.
          ☐ the interest requirement for the fine is modified as follows: __________
          ☐ the interest requirement for the restitution is modified as follows: __________




* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on

or after September 13, 1994, but before April 23, 1996.
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                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    ☒ Lump sum payment of $100.00 due immediately, balance due
               ☐ not later than ________, or
               ☒ in accordance with ☐ C, ☐ D, ☐ E, or ☒ F below; or

 B    ☐ Payment to begin immediately (may be combined with C, D, or F below); or
 C    ☐ Payment in equal ________ installments of $________ over a period of ________, to commence ________
           after the date of this judgment; or

 D    ☐ Payment in equal ________ installments of $________ over a period of ________, to commence ________
           after release from imprisonment to a term of supervision; or

 E    ☐ Payment during the term of supervised release will commence within ________ after release from imprisonment.
           The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F    ☒ Special instructions regarding the payment of criminal monetary penalties:
           The restitution and/or fine is to be paid in minimum quarterly installments of $25.00 based on IFRP participation,
           or minimum monthly installments of $20.00 based on UNICOR earnings, during the period of incarceration, to
           commence 60 days after the date of this judgment. Any balance due upon commencement of supervision shall
           be paid, during the term of supervision, in minimum monthly installments of $35.00 to commence 60 days after
           release from imprisonment. The defendant shall apply all monies received from income tax refunds, lottery
           winnings, judgments, and/or any other anticipated or unexpected financial gains to any outstanding court-
           ordered financial obligations.



Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes imprisonment,
payment of criminal monetary penalties is due during the period of imprisonment. All criminal monetary penalties, except
those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the
Clerk of the Court, 399 Federal Building, 110 Michigan N.W., Grand Rapids, MI 49503, unless otherwise directed by the
court, the probation officer, or the United States Attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☐ Joint and Several
       Case Number
       Defendant and Co-Defendant Names                                               Joint and Several         Corresponding Payee,
       (including defendant number)                       Total Amount                     Amount                   if appropriate




☐ The defendant shall pay the cost of prosecution.
☐ The defendant shall pay the following court cost(s):
☐ The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
